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USDC SDNY
UNITED STATES DISTRICT COURT DOCUMENT
SOUTHERN DISTRICT OF NEW YORK ELEC TRONICALLY FILED
JOHN DOE and ROSA VADI DOC #:
ARCELAY, DATE FILED: _ 10/19/2020
Plaintiffs,
-against- 20 Civ. 7769 (AT)
GREGORY RUSS, as Chair and Chief ORDER

Executive Officer of the New York City
Housing Authority and NEW YORK CITY
HOUSING AUTHORITY,

 

Defendants.
ANALISA TORRES, District Judge:

 

The Court has reviewed Plaintiff John Doe’s motion to proceed under pseudonym, or in the
alternative, their request for an order sealing the complaint. ECF No. 18.

1. By October 22, 2020, Plaintiff Doe is directed to refile the proposed order at ECF No. 18-2.
2. By October 26, 2020, Defendants shall file their opposition, if any.
3. By November 2, 2020, Plaintiff Doe shall file their reply, if any.

SO ORDERED.

Dated: October 19, 2020
New York, New York

OQ-

ANALISA TORRES
United States District Judge

 
